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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                    CASE NO. 1:00-cr-00041-MP

JUAN-CARLOS FRANSICO ASSE,

      Defendant.
______________________________/

                                            ORDER

       This matter is before the Court on Doc. 278, Motion for Early Termination of Supervised

Release, filed by Defendant Juan-Carlos Asse, who is proceeding pro se. On December 8, 2000,

Defendant plead guilty to one count of conspiracy to distribute and to possess with intent to

distribute a controlled substance in violation of 21 U.S.C. §§ 841(a) and 841(b)(1)(c). On March

14, 2001, the Court sentenced Defendant to 87 months of imprisonment, followed by 36 months

of supervised release. Defendant has served over one year of his supervised release term and

now seeks to terminate his supervised release.

       Under 18 U.S.C. § 3583(e), the Court may terminate supervised release at any time after

a defendant has completed at least one year of supervised release, but prior to completion of the

entire term, if the Court is satisfied that such action is (1) warranted by the defendant’s conduct

and (2) is in the interest of justice. In making this determination, the Court is directed to

consider the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable. After

consulting with Probation and considering the factors in § 3553(a), the Court finds that early

termination of Defendant’s term of supervised release is both warranted by Defendant’s conduct
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and in the interest of justice. Accordingly, it is hereby

         ORDERED AND ADJUDGED:

         Defendant’s Pro Se Motion for Early Termination of Supervised Release, Doc. 278, is
         GRANTED. Defendant’s term of supervised release shall be terminated, effective
         immediately, and this case shall be closed.

         DONE AND ORDERED this            14th day of January, 2009


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




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